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                     UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re JAQUELINE R. MARSHALL,                               :      Chapter 7
                                                           :
                      Debtor                               :
                                                           :      Bky. No. 18-15802 ELF
                                                           :
AMERICAN FEDERATION OF STATE,                              :
COUNTY, AND MUNICIPAL EMPLOYEES,                           :
LOCAL 2187,                                                :
                                                           :
                      Plaintiff                            :
                                                           :
                      v.                                   :      Adv. No. 18-254
                                                           :
JACQUELINE R. MARSHALL,                                    :
                                                           :
                      Defendant                            :


                                       O R D E R

      AND NOW, following trial of the above adversary proceeding, and for the reasons stated

in the accompanying Opinion, it is hereby ORDERED and DETERMINED that:

   1. Defendant-Debtor Jacqueline R. Marshall’s debt to the American Federation of State,

      County and Municipal Employees Local 2187 is NONDISCHARGEABLE to the extent

      stated below.

   2. The portion of the debt referred to in the Opinion as “the First Overpayment” is

      NONDISCHARGEABLE to the extent that the payments were received by the Debtor

      after April 21, 2014.

   3. The portion of the debt referred to in the Opinion as “the Second Overpayment” is

      NONDISCHARGEABLE.



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   4. The portion of the debt referred to in the Opinion as “the Transcript Costs” are

      DISCHARGEABLE.




Date: October 2, 2020
                                     ERIC L. FRANK
                                     U.S. BANKRUPTCY JUDGE




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